    Case 2:18-cv-01830-MWF-JPR Document 130 Filed 06/05/19 Page 1 of 1 Page ID #:4089
                                         UNITED STATES DISTRICT COURT
                                        CENTRAL DISTRICT OF CALIFORNIA
                                         NOTICE OF DOCUMENT DISCREPANCIES

    ✔ U.S. District Judge / G U.S. Magistrate Judge Michael W. Fitzgerald
To: G
From: Rita Sanchez/sjm                                       , Deputy Clerk            Date Received: June 5, 2019
Case No.: CV 18-1830 MWF (JPRx)                      Case Title: Matt Furie v. Infowars, LLC, et al.
Document Entitled: Correspondence from Joshua Flynn dated May 29, 2019


Upon the submission of the attached document(s), it was noted that the following discrepancies exist:
                  G Local Rule 5-4.1        Documents must be filed electronically
                  G Local Rule 6-1          Written notice of motion lacking or timeliness of notice incorrect
                  G Local Rule 7-19.1       Notice to other parties of ex parte application lacking
                  G Local Rule 7.1-1        No Certification of Interested Parties and/or no copies
                  G Local Rule 11-3.1       Document not legible
                  G Local Rule 11-3.8       Lacking name, address, phone, facsimile numbers, and e-mail address
                  G Local Rule 11-4.1       No copy provided for judge
                  G Local Rule 11-6         Memorandum/brief exceeds 25 pages
                  G Local Rule 11-8         Memorandum/brief exceeding 10 pages shall contain table of contents
                  G Local Rule 15-1         Proposed amended pleading not under separate cover
                  G Local Rule 16-7         Pretrial conference order not signed by all counsel
                  G Local Rule 19-1         Complaint/Petition includes more than 10 Does or fictitiously named parties
                  G Local Rule 56-1         Statement of uncontroverted facts and/or proposed judgment lacking
                  G Local Rule 56-2         Statement of genuine disputes of material fact lacking
                  G
                  ✔ Local Rule 83-2.5       No letters to the judge
                  G Fed. R. Civ. P. 5       No proof of service attached to document(s)
                  G Other:


  Please refer to the Court’s website at www.cacd.uscourts.gov for Local Rules, General Orders, and applicable forms.

                                        ORDER OF THE JUDGE/MAGISTRATE JUDGE
IT IS HEREBY ORDERED:

G The document is to be filed and processed. The filing date is ORDERED to be the date the document was stamped
  “received but not filed” with the Clerk. Counsel* is advised that any further failure to comply with the Local Rules may
  lead to penalties pursuant to Local Rule 83-7.


     Date                                                    U.S. District Judge / U.S. Magistrate Judge

G
✔ The document is NOT to be filed, but instead REJECTED,, a       and
                                                                    d iss ORDERED
                                                                          OR R        returned
                                                                                       etu ed to cou   counsel.*
                                                                                                            s    Counsel* shall
  immediately notify, in writing, all parties previously served      the
                                                            ved with th   attached
                                                                      he attach
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                                                                               hed documents
                                                                                e docume  ent    tthat
                                                                                           nttss th         documents have not
                                                                                                    at said d
  been filed with the Court. The correspondence shall NOT be attached to this form and shall NOT appear on the docket.
     June 5, 2019                                               / s / Michael W. Fitzgerald
    Date                                                      United States District Judge
* The term “counsel” as used herein also includes any pro se party.
                                                             party See Local Rule 1-3.
                                                                                  13
        COPY 1 -ORIGINAL-OFFICE          COPY 2 -JUDGE    COPY 3 -SIGNED & RETURNED TO FILER       COPY 4 -FILER RECEIPT

CV-104A (06/13)                               NOTICE OF DOCUMENT DISCREPANCIES
